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                        DECLARATION OF LASHANDA L. FREEMAN

                                      (Pursuant to 28 U.S.C. § 1746)

          I, Lashanda Freeman, hereby state that I have personal knowledge of the facts set forth

   below and am competent to testify as follows:

   1.     I am a United States citizen and am over 18 years of age. I am employed by the Federal

          Trade Commission (“FTC” or “the Commission”) as an Investigator in the Division of

          Enforcement, Bureau of Consumer Protection. My office address is 600 Pennsylvania

          Ave., NW, CC-9528, Washington, D.C. 20580.

   2.     Prior to my employment with the FTC, I was a Paralegal Specialist from June 2012 to

          August 2016, and a Program Analyst from August 2016 to February 2019, for the

          Department of Justice, Consumer Protection Branch in Washington, DC. I earned a

          Bachelor and Master of Science degree in Criminal Justice from Drury University in

          2008 and 2010, respectively.

   3.     My duties as an investigator include investigating possible violations of the laws and

          regulations the FTC enforces and possible violations of orders obtained by the

          Commission.

   4.     I was assigned to work on the matter FTC v. On Point Global LLC, et al., in February

          2019.

   5.     A number of documents are attached to this declaration. In accordance with FTC

          procedures and this Court’s rules, information from these documents has been redacted in

          order to protect sensitive information, such as financial account numbers and personally

          identifiable information.
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                                   350 NE 60th Street, Miami, Florida

      6. As described in my previous declaration (see ECF No. 24-1, PX18- Declaration of

         Lashanda Freeman, ¶¶ 6-10,) with assistance from other FTC employees present, I

         reviewed and collected certain paper documents from the Defendants’ premises located at

         350 NE 60th Street, Miami, Florida. Selected documents obtained during the immediate

         access of the Defendants’ business premises are attached hereto as Attachment A.

      7. As described in my previous declaration (see ECF No. 24-1, PX18 (Declaration of

         Lashanda Freeman) ¶ 7) during the immediate access of the Defendants’ business

         premises located at 350 NE 60th Street, Miami, Florida, I assigned each office,

         workstation, or room a unique number and took photographs. Upon my entry of the

         premises on December 16, 2019, at approximately 11:45am, I identified a large,

         executive corner office that belonged to Burton Katz and Bob Bellack based on business

         cards and documents I located on or inside the desks. The office had a small conference

         room table, flat screen TV, large white marker board, two large executive desks next to

         each other with a large credenza behind them, a couch, a small table, and two chairs.

      8. I took photographs of Burton Katz and Bob Bellack’s desks before I began my review of

         documents. I observed that the top of Bob Bellack’s desk contained the following items:

         10 notebooks filled with handwritten notes, a stack of PowerPoint presentation printouts,

         paperwork related to Allstate Benefits, travel authorization for OnPoint Global employee

         Mario Garcia, several post-it notes, a wireless computer mouse, and a pair of eyeglasses.

         I selected six documents from Bob Bellack’s desk and credenza area behind his desk

         notably leaving the large stack of PowerPoint presentation printouts, eyeglasses, and nine

         remaining notepads in the same manner they were originally found before I began my
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         review. At approximately 4:30pm the same day, I re-entered the office and observed the

         six documents I selected were still on the desk with slip-sheets and the other materials

         were in the same manner they were originally found before I began my review. I placed a

         post-it note in the office to indicate that FTC staff had finished the review of the office.

         The photographs I took of Bob Bellack’s desk are attached hereto as Attachment B. On

         December 17, 2019, at approximately 9:45am, I entered the office of Burton Katz and

         Bob Bellack and immediately noticed the large stack of PowerPoint presentation

         printouts, seven notepads, and the eyeglasses were missing from the top of Bob Bellack’s

         desk. I notified FTC staff attorney Sarah Waldrop and counsel for the receiver, Kenneth

         Murena, about my observation that documents and eyeglasses were missing from the top

         of Bob Bellack’s desk. On December 18, 2019, before leaving the Defendants’ business

         premises, I took a photograph documenting the missing items from Bob Bellack’s desk

         (see Attachment B p. 4).

      9. After entering the Defendants’ premises located at 350 NE 60th Street, Miami, Florida,

         FTC Digital Investigative Analyst Dan Gillenwater coordinated with members of the

         receiver’s team to access information contained in email servers and cloud hosting

         services utilized by the Defendants. On December 23, 2019, FTC Digital Investigative

         Analyst Gillenwater forwarded FTC staff a list of all custodians associated with the email

         address domain “onpointglobal.com.” The list of custodians is attached hereto as

         Attachment C.

                                         Florida Corporate Records

      10. On December 28, 2019, I visited the Florida Department of State website and utilized the

         Division of Corporations Entity Search at
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         http://search.sunbiz.org/Inquiry/CorporationSearch/ByName. I conducted searches for

         Florida entities or foreign entities that had registered in Florida, associated with Robert

         Zangrillo. I also searched for entities associated with the address 1521 Alton Road, Suite

         352, Miami Beach, Florida. The information I found is summarized below:

      Full Name              Date of                 Place of                Owners, Members,
                             Incorporation           Incorporation           Managers, and/or
                                                                             Agents
      Cho Dragon             2/9/2015                DE                      Robert Zangrillo
      Employee LLC
      Cho Dragon             3/5/2014                DE                      Robert Zangrillo
      Management LLC
      DG Dreamland LLC       12/18/2013              DE                      Robert Zangrillo
      DG Ghost LLC           6/2/2015                DE                      Robert Zangrillo
      Dragon Global LR       6/19/2014               DE                      Robert Zangrillo
      Management LLC
      Dragon Global          3/14/2013               DE                      Dragon Global
      Management                                                             LLC, Dragon
                                                                             Global Holdings
                                                                             LLC, Dede Loftus

      Dragon Global          12/16/2015              DE                      Robert Zangrillo
      Management II LP,
      LLC
      Dragon Global          4/8/2014                DE                      Robert Zangrillo
      Miami Real Estate                                                      (Dede Loftus listed
      Development LLC                                                        as an authorized
                                                                             person)
      Dragon Miami           7/29/2014               DE                      Robert Zangrillo
      Urban Management
      Group LLC
      Dragonfly Marine       6/7/2018                DE                      Dede Loftus
      LLC                                                                    (manager)
      Magic City Fund        7/29/2014               DE                      Robert Zangrillo
      LLC
      Magic City             3/17/2017               DE                      Robert Zangrillo
      Management LLC
      (cross reference
      name Magic City
      Project LLC)
      Magic City Project     3/17/2017               DE                      Robert Zangrillo
      LLC
      Magic City             12/24/2014              DE                      Robert Zangrillo
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      Properties XII, LLC
      Magic City            12/24/2014   DE                Robert Zangrillo
      Properties XIII LLC
      Magic City Studios    8/3/3016     DE                Robert Zangrillo
      LLC
      OnPoint Capital       6/4/2015     DE                Dragon Global
      Partners LLC                                         Management
                                                           (Robert Zangrillo
                                                           listed as Manager of
                                                           Dragon Global
                                                           Management)
      Quasart Partners,     5/19/2011    FL                Robert Zangrillo
      LLC
      Robert L. Zangrillo   9/14/2011    FL                Robert Zangrillo
      Family Foundation,
      Inc.
      Wynwood Property      7/31/2014    DE                Robert Zangrillo
      Holdings LLC
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